

Rowe v 4601 Second Ave, LLC (2024 NY Slip Op 03770)





Rowe v 4601 Second Ave, LLC


2024 NY Slip Op 03770


Decided on July 10, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 10, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

VALERIE BRATHWAITE NELSON, J.P.
DEBORAH A. DOWLING
HELEN VOUTSINAS
LAURENCE L. LOVE, JJ.


2020-00838
 (Index No. 517975/16)

[*1]Glenson Rowe, respondent, 
v4601 Second Ave, LLC, defendant, Volmar Construction, Inc., appellant.


Wilson Elser Moskowitz Edelman &amp; Dicker LLP, New York, NY (Matthew Ross, Vanessa L. Donatello, I. Elie Herman, and Judy Selmeci of counsel), for appellant.
Spar &amp; Bernstein, P.C. (Aydiner, P.C., Mineola, NY [Si Aydiner], of counsel), for respondent.



DECISION &amp; ORDER
In an action to recover damages for personal injuries, the defendant Volmar Construction, Inc., appeals from an order of the Supreme Court, Kings County (Loren Baily-Schiffman, J.), dated December 19, 2019. The order, insofar as appealed from, denied that defendant's cross-motion pursuant to CPLR 3211(a) to dismiss the amended complaint insofar as asserted against it.
ORDERED that the appeal is dismissed as academic, with costs, in light of our determination on a related appeal (see Rowe v 4601 Second Ave, LLC, ____ AD3d ____ [Appellate Division Docket No. 2021-00853; decided herewith]).
BRATHWAITE NELSON, J.P., DOWLING, VOUTSINAS and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








